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IN THE CIRCUIT COURT OF THE NlNTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY, FLORIDA

ASHLEY KOZAWICK,
Plaintiff,
vs. Case No.:

DIGITAL RISK MORTGAGE SERVICES,
LLC., a Florida For-Protit Corporation,

Defeodant.

COMPLAINT & DEMAND FOR JURY TRIAL

 

COMES NOW the Plaintiff, ASHLEY KOZAWICK ("Plaintifi”), by and through the
undersigned counsel, and files this Complaint against Def`endant, DIGlTAL RISK MORTGAGE
SERVICES, LLC, a Florida for profit Corporation (“Defendant”), and states as follows:

INTRODUCTION
l. PlaintiH`, ASHLEY KOZAW[CK, brings this action pursuant to the Family Medical Leave
Act, as amended, 29 U.S.C. §2601, et seq. (the “FMLA”), to recover from Def`endant for back pay,
an equal amount of liquidated damages, other monetary damages, equitable relief`, reasonable
attomeys’ fees and costs, and all other fair andjustifiable relief under the law.
JURISDICTION
2. The Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §l337 and the

FMLA.

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VENUE
3. The venue of this Court over this controversy is proper based upon the claim arising in Orange
County, Florida.
PARTIES
4. At all times material to this action, Plaintiff was a resident of Orange County, Florida.

5. At all times material to this action, Defendant DlGl'l`AL RISK MORTGAGE SERVlCES,
LLC, was and continues to be a Florida For Profit Corporation.

6. Furthermore, at all material times relevant to this action, Defendant was and continues to
be engaged in business in Florida, doing business in Orange County, Florida.

7. Plaintif‘f was hired on or about March 16, 2015 as a Mortgage Loan Processor (Loan
Officer) at Defendant’s place of business located at: 2301 Maitland Center Parkway, Ste. 165,
Maitland, FL 32751.

8. At all times material to this action (2015-17), Plaintif`f was an “employee” of Defendant’s
within the meaning of the FMLA.

9. At all material times relevant to this action, Dei`endant is and continues to be an “employer”
within the meaning of the FMLA.

lO. DlGITAL R!SK MORTGAGE SERVICES, LLC, is an employer under the FMLA
because they were engaged in commerce or in an industry affecting commerce and employed fifty
(50) or more employees for each working day during each of twenty (20) or more calendar work
weeks in the current or preceding calendar year.

l l. At all times relevant hereto, Plaintiff worked at a location where DiGlTAL RISK
MOR'|`GAGE SERVICES, LLC employed tiRy (50) or more employees within a seventy-five (75)

mile radius.

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|2. At all times relevant hereto, Plaintifi` was an employee entitled to leave under the FMLA
based on the fact that she was employed by the employer for at least a twelve (12) months and
worked at least one thousand, two hundred and fifty (1,250) hours during the relevant twelve (12)
month period prior to her seeking to exercise her rights to FMLA leave.

FMLA ALLEGATIONS
8. At all times relevant to this action, DlGI'l`AL RlSK MORTGAGE SERV|CES, LLC, failed
to comply with 29 U.S.C. §2601, et seq., because Plaintiff validly exercised her rights pursuant to
the FMLA.
9. Defendant interfered with Plaintift’s right to take FMLA |eave.
lO. Defendant also retaliated against Plaintiff because she sought medical leave under the
FMLA.
ll. During her employment, on or about October l7, 201 7, Plaintiff put Defendant on notice
that she needed medical attention due to her high-risk pregnancy thru Del`endant’s representatives
including her Supervisor (Jerri) and the Human Resource representative (Kyle Tracy).
12. Specifically, on October l7, 2017 Plaintiff sent an email to Human Resources
Representative (Kyle Tracy) requesting FMLA documentation in order to have her doctor
complete the same.
l3. That same day, Mrs. Tracy replied providing her the FMLA paperwork, including FMLA
E`,mployee Notice, FMLA Request, and Benefits Summary; and requesting her to fill everything
out.
14. Defendant required Plaintiff to provide medical documentation by October 31, 2017.
lS. Plaintifi` sought medical attention and was placed on 2 days rest from October 19, 2017 to

October 20, 2017.

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16. On or about October l9, 2017, Plaintiff notified her Manager (.lerri) of her medical excuse
(“Authorization for Absence”) signed by Dr. Erik Lerner, D.C. which provided for 2 days of rest.
l7. Defendant terminated P|aintift‘s employment that same day of October 19, 2017.

18. Defendant did not provide any notice to Plaintiff advising her of eligibility to take FMLA
leave pursuant to 29 C.F.R. 825.300.

19. Plaintiff suffered significant wage loss.

20. Defendant denied Plaintiff’ s request by terminating her.

COUNT l -
FMLA- INTERFERENCE WITH RIGHT TO TAKE LEAVE

______________________-
21. Plaintiff reasserts and reincorporates all allegations contained in paragraphs 1-20 above as
though fully stated herein.

22. At all times relevant hereto, Defendant interfered with Plaintiff's right to take leave from
work under the FMLA.

23. At all times relevant hereto, Defendant’s interference with Plaintift’s right to take leave
from work violated the FMLA.

24. At all material times relevant to this cause of action, Plaintiff suffered from a “a serious
health condition" within the meaning of the FMLA.

25. Plaintiff gave Defendant appropriate notice of her need to be absent from work due to her
serious health condition caused by her high risk pregnancy.

26. Defendant interfered with the exercise of Plaintif`f’s right to unpaid leave.

27. Plaintiff would have been eligible for FMLA benefits.

28. Plaintiff was denied FMLA leave.

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29. As a result of Defendant’s intentional, willful, and unlawful acts by interfering with
Plaintifi’s rights pursuant to the FMLA, Plaintiff has suffered damages and incurred reasonable
attomeys’ fees and costs.

30. Because Defendant cannot show that its violation of the FMLA was in good faith, Plaintiff
is entitled to liquidated damages.

31. Defendant’s violation of the FMLA was willful, as Plaintift” s direct supervisor engaged in
the above-referenced actions while knowing that the same were impermissible under the FMLA.

COUNT II ~
FMLA- RETALIATION

32. Plaintiff readopts and incorporates all allegations contained in paragraphs l-Zl above, as
though fully stated herein.

33. At all times relevant to this action, Defendant retaliated against Plaintif`f, at least in part,
because Plaintiff sought leave from work that was protected under the FMLA.

34. At all times relevant to this action, Defendant retaliated against Plaintiff, at least in part,
because Plaintiff was retaliated against due to FM LA leave and her pregnancy health condition.
35. At all times relevant to this action, Defendant retaliated against Plaintiff in violation of the
FMLA by terminating her employment for seeking time off work under the FMLA.

36. At all times relevant to this action, Defendant acted with the intent to retaliate against
Plaintiff because Plaintiff exercised her right to leave pursuant to the FMLA.

37. As a result of Defendant’s intentional, willful, and unlawful acts of retaliating against
Plaintiff for exercising her rights pursuant to the FMLA, Plaintiff has suffered damages and
incurred reasonable attorneys’ fees and costs.

38. Because Defendant cannot prove that their violation of the FMLA was in good faith,

Plaintiff is entitled to liquidated damages.

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39. Defendant’s violation of the FMLA was willful, as Plaintist direct supervisor engaged in
the above-described actions while knowing that the same were impermissible under the FMLA.

WHEREFORE, Plaintiff, ASHLEY KOZAW[CK, demands judgment against Defendant,
DIGITAL RlSK MORTGAGE SERVICES, LLC, for back pay, an equal amount as liquidated
damages, other monetary damages, equitable relief, reasonable attomeys’ fees and costs incurred,
and all other relief deemed just and appropriate

MEMAND
Plaintiff hereby demands ajury trial on all issues so triable.
Dated this 9"' day of February, 201 8.

Respectfully submitted,

s/ Carlos V, Leagh
Carlos V. Leach, Esquire

FBN 0540021

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